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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION                            Acknowledged
                                                                                        TWP
  SHAMROCK BUILDERS, INC., et al.,                        )                         October 17, 2018
                                                          )
                 Plaintiffs,                              )
                                                          )     Case No.: 1:18-cv-00151-TWP-MPB
         vs.                                              )
                                                          )
  STATE AUTO PROPERTY AND CASUALTY                        )
  COMPANY,                                                )
                                                          )
                 Defendant.                               )
                                                          )


                      STIPULATION OF DISMISSAL WITH PREJUDICE



         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all Parties, by counsel, respectfully notify the

  Court of the stipulated dismissal of this action, with prejudice.



                                                Respectfully submitted,


   /s/ John P. Higgins                                   /s/ Justin K. Curtis (with permission)
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                                       CERTIFICATE OF SERVICE

           I hereby certify that on the 16th day of October, 2018, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent to the following parties by operation of the Court’s
  ECF. Parties may access this filing through the Court’s system:

   Richard L. Hammond (Defendants)                        rick.hammond@heplerbroom.com
   HEPLERBROOM LLC

   Justin K. Curtis (Defendants)                          justin.curtis@heplerbroom.com
   HAPLERBROOM LLC


                                                 /s/ John P. Higgins
                                                 John P. Higgins




  4845-0487-6408, v. 1




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